                   UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF ILLINOIS
                         EASTERN DIVISION


ANDREW CORZO, SIA HENRY, ALEXANDER
LEO-GUERRA, MICHAEL MAERLENDER,
BRANDON PIYEVSKY, BENJAMIN SHUMATE,
BRITTANY TATIANA WEAVER, and
CAMERON WILLIAMS, individually and on
behalf of all others similarly situated,

                        Plaintiffs,

                   v.

BROWN UNIVERSITY, CALIFORNIA               Case No.: 1:22-cv-00125
INSTITUTE OF TECHNOLOGY, UNIVERSITY
OF CHICAGO, THE TRUSTEES OF COLUMBIA       Hon. Matthew F. Kennelly
UNIVERSITY IN THE CITY OF NEW YORK,
CORNELL UNIVERSITY, TRUSTEES OF
DARTMOUTH COLLEGE, DUKE UNIVERSITY,
EMORY UNIVERSITY, GEORGETOWN
UNIVERSITY, THE JOHNS HOPKINS
UNIVERSITY, MASSACHUSETTS INSTITUTE
OF TECHNOLOGY, NORTHWESTERN
UNIVERSITY, UNIVERSITY OF NOTRE DAME
DU LAC, THE TRUSTEES OF THE
UNIVERSITY OF PENNSYLVANIA, WILLIAM
MARSH RICE UNIVERSITY, VANDERBILT
UNIVERSITY, and YALE UNIVERSITY,

                        Defendants.


   PLAINTIFFS’ MOTION TO COMPEL DEFENDANTS TO PROVIDE FERPA
NOTICES PURSUANT TO THIS COURT’S ORDER REGARDING FERPA AND THE
      PRODUCTION OF CERTAIN DOCUMENTS AND INFORMATION
       On the grounds set forth in the supporting memorandum submitted on this same date,

Plaintiffs respectfully move the Court to enter an Order as follows: Each Defendant (with the

exception of MIT, Caltech, Chicago and Yale) is ordered to send FERPA Notices pursuant to

this Court’s prior Order Regarding FERPA (Dkt. 231), in the same form as Exhibit A to that

Order, to each of the students admitted to that Defendant university and identified by Plaintiffs as

an intended recipient of such FERPA Notice.



 Dated: September 25, 2023                           Respectfully Submitted,

 By:/s/Robert D. Gilbert                             /s/ Edward J. Normand
 Robert D. Gilbert                                   Devin “Vel” Freedman
 Elpidio Villarreal                                  Edward J. Normand
 Robert S. Raymar                                    Peter Bach-y-Rita
 David Copeland                                      Richard Cipolla
 Steven Magnusson                                    FREEDMAN NORMAND
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